Case 1:20-cv-07334-GBD Document 10 Filed 01/28/21 Page 1 of 1

LAW OFFICES

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LEGAL ASSISTANT

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Hon. George B. Daniels, USDJ So + , 2027 at mn

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United States District Courthouse Bie. / ) 0
Southern District of New York OE eb €

500 Pearl Street ae
New York, NY 10007 ekg

Re: Madrid v. LIRR
20 cv 7334 (GBD)

Dear Judge Daniels:

After conferring with defendant with regard to the annexed, executed Civil Case Management Plan
and Schedule. The parties inform the Court that there are no issues to be discussed, agree to adopt
the scheduling order and therefore request that the conference scheduled for February 3% be

adjourned.

Please contact us should anything else be required by the Court.

 

ce: Christopher Pogan, Esq.

Encl.

 

 
